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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  FORT MYERS DIVISION

COREY DESIMONI and JAMES
REITER, individually and on behalf of all
similarly situated,

               Plaintiffs,

v.                                                       Case No: 2:15-cv-366-FtM-38CM

TBC CORPORATION,

               Defendant.
                                              /

                                    OPINION AND ORDER1

       This matter comes before the Court on consideration of United States Magistrate

Judge Carol Mirando’s Report and Recommendation (Doc. 177), filed on September 5,

2017, recommending that the parties’ Joint Motion to Lift Stay, Approve Settlement and

for Dismissal (Doc. 176) be granted, the parties’ Settlement Agreement (Doc. 176-1) be

approved, and the case dismissed with prejudice. Judge Mirando also recommends that

the Court dismiss Opt-In Plaintiffs James Bargeron and Rex Earls as they have withdrawn

their consent to join this collective action. (Doc. 173; Doc. 174). The parties filed a Joint

Notice of Non-Objection (Doc. 178) on September 6, 2017.




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       A district judge “may accept, reject, or modify in whole or in part, the findings or

recommendations made by the magistrate judge.” 28 U.S.C. § 636(b)(1). The district

judge “shall make a de novo determination of those portions of the report or specified

proposed findings or recommendations to which objection is made.” Id. And “[t]he judge

may also receive further evidence or recommit the matter to the magistrate judge with

instructions.” Id.

       After examining the file carefully and independently, and upon considering Judge

Mirando’s findings and recommendations, the Court accepts and adopts the Report and

Recommendation.

       Accordingly, it is now

       ORDERED:

       (1) The Report and Recommendation (Doc. 177) is ACCEPTED and ADOPTED

           and the findings incorporated herein.

       (2) Opt-In Plaintiffs James Bargeron and Rex Earls are dismissed from this action

           without prejudice.

       (3) The Joint Motion to Approve Settlement and Dismiss with Prejudice (Doc. 176)

           is GRANTED and the Settlement Agreement (Doc. 176-1) is APPROVED. This

           action is DISMISSED with prejudice.

       (4) The Clerk is DIRECTED to enter lift the stay of this matter and thereafter enter

           judgment accordingly, terminate any pending deadlines and motions, and close

           the file.




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      DONE and ORDERED in Fort Myers, Florida this 18th day of September, 2017.




Copies: All Parties of Record




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